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                                                                  Caroline J. Polisi
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—
Via ECF

July 3, 2019

The Honorable Randolph D. Moss
United States District Judge
United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington, D.C. 20001

Re:    United States v. Papadopoulos, Case No. 17-CR-182 (RDM)

Dear Judge Moss:

       I represent George Papadopoulos in the above-referenced case.

       I am writing to respectfully request a temporary modification to Mr. Papadopoulos’s conditions
of supervised release to enable him to travel later this month to Europe for business. As the Court is
aware, Mr. Papadopoulos’s travel is currently restricted to the Southern District of California.

       I have discussed this application with counsel for the government, Aaron Zelinsky, and the
government takes no position with respect to the requested modification. I have also discussed this
application with Probation Officer Yvette Trepichio, and the Probation Department does not oppose the
request.

        Mr. Papadopoulos is currently residing in Los Angeles with his wife, Simona Papadopoulos.
They are supporting themselves economically by filming a 13-part docu-series, funded by FGW
Productions. The production team has requested that Mr. and Mrs. Papadopoulos film in the following
locations on the following dates:


July24-28th – London, UK
July 28-30th - Thessaloniki, Greece
July 31-Aug 2 - Rome, Italy
Aug 2-Aug 4th – Caserta, Italy

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Aug 4-Aug 5th – Chicago, United States


        Allowing Mr. Papadopoulos to travel on the requested dates will enable him to continue to
participate in the docu-series, which is his primary source of income. If the Court grants this
application, Mr. Papadopoulos will provide his Probation Officer with a detailed itinerary and
contact information.

       I thank the Court for its consideration in this matter.


                                              Respectfully submitted,

                                              /s/ Caroline J. Polisi
                                              Caroline J. Polisi


cc: Aaron Zelinsky, Esq., DOJ (by ECF and email)
   U.S. Probation Officer Yvette Trepichio (by email)




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